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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

UNITED STATES OF AMERICA,              :
                                       :       CRIM. NO.: 1:16-CR-65
v.                                     :
                                       :
                                       :
ASHA R. MAURYA,                        :
                                       :
      Defendant.                       :

     DEFENDANT ASHA MAURYA’S SENTENCING MEMORANDUM

      Counsel for Asha R. Maurya (“Ms. Maurya”) hereby respectfully submits

this Sentencing Memorandum to provide support for Ms. Maurya’s objections to

the Presentence Investigation Report (the “PSR”) and to assist the Court in

determining a reasonable sentence pursuant to 18 U.S.C. § 3553(a).

                                INTRODUCTION

      On February 9, 2016, a grand jury in this district returned a thirty-four count

indictment charging Ms. Maurya and co-defendant Nathan Hardwick (PSR ¶ 1). 1

The thrust of the Government’s allegations was that Hardwick, the managing

partner of Morris Hardwick Schneider, LLC and its affiliated title closing company

(collectively, “MHS”), directed Ms. Maurya to make unauthorized distributions,




1
 On October 12, 2018, Hardwick was convicted after a jury trial on multiple
counts of fraud and making false statements.

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bonuses, and other payments to him from the firm’s bank accounts for his personal

benefit. (PSR ¶ 3-4).

      On May 11, 2017, Ms. Maurya entered a negotiated guilty plea to conspiracy

to commit with wire fraud (Count 1) (Doc. 112) (PSR ¶ 23, 2). The PSR

calculated a total offense level of 28 and a Criminal History Category of I,

resulting in an Advisory Guidelines range of 78 to 97 months. The Government

agreed in the plea agreement to recommend a one-level downward variance based

on Ms. Maurya’s expeditious guilty plea. (Doc. 112, p.10). In its sentencing

memorandum, the Government indicated that it would be filing a motion pursuant

to §5K1.1 and ask for a further one-level deduction (Doc. 318, p. 2). If the Court

adopts the PSR’s calculations and the Government’s recommendation, the

sentencing range would be 63 to 78 months. The Government also agreed to

recommend the low end of this range which would be 63 months (Doc. 112, p. 10).

      Counsel for Ms. Maurya objects to the total offense level calculated in the

PSR. In particular, we object to the proposed loss amount of $22,207,431 (PSR ¶

78, 90). We also object to the recommended two-level enhancement for causing

financial hardship based on financial losses suffered by MHS partners Mark and

Gerard Wittstadt. (PSR ¶ 91). Finally, we object to the PSR’s calculations of the

restitution amount under the Mandatory Victims Restitution Act (“MVRA”). We

contend that the Advisory Guidelines range should be level 20, yielding a range of

33 to 41 months. With the Government’s recommended one-level downward


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variance for expeditiously entering a guilty plea, Ms. Maurya’s Advisory

sentencing Guidelines range would be 30 to 37 months, before receiving any credit

for her cooperation.

      In addition to addressing these objections, this memorandum seeks to

contrast the differing roles that Hardwick, as the managing partner, and Ms.

Maurya, as his employee, played in the charged conspiracy as well as the very

different routes these two individuals took once the fraud came to light. While

Hardwick sought to shift blame, Ms. Maurya accepted responsibility and

immediately began to assist Fidelity National Financial (“Fidelity”) and then the

Government in their respective investigations. This memorandum also highlights

the marked changes that Ms. Maurya has undergone since the time of her arrest

and shows that she is capable of being a productive member of society.

      Given Ms. Maurya’s limited role in this offense and her willingness to assist

Fidelity and the Government, we respectfully request that the Court impose a

sentence that is below the Advisory Guidelines range.

                       ADVISORY GUIDELINES ISSUES

      A.     The Loss Amount

      Application Note 3(A) of §2B1.1 states that “loss is the greater of actual

loss or intended loss.” Actual loss is defined as “the reasonably foreseeable

pecuniary harm that resulted from the offense.” Intended loss is defined as “the

pecuniary harm that the defendant purposely sought to inflict…” Here, the PSR


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appears to adopt an actual loss amount as calculated by Fidelity, MHS’s leading

title insurance underwriter. Fidelity contends that it suffered a net loss of

$22,207,431 resulting from its decision to fund the shortages in MHS’s escrow

accounts. (PSR ¶ 71, 78). We object to the PSR’s conclusion that Ms. Maurya

should be held accountable for this amount. (PSR ¶ 90).

      “Under the guidelines, actual loss is defined as the reasonably foreseeable

pecuniary harm that resulted from the offense… This definition incorporates a

causation standard that, at a minimum, requires factual causation (often called but

for causation) and provides a rule for legal causation (i.e., guidance to courts

regarding how to draw the line as to what losses should be included and excluded

from the loss determination.)” United v. Stein, 846 F.3d 1135, 1152 (11th Cir.

2017) (citations and quotations omitted). Accordingly, the Government must

prove the actual loss amount caused by Ms. Maurya’s conduct by a preponderance

of the evidence, and while the Court may reasonably estimate the loss amount, “it

cannot speculate about the existence of facts and must base its estimate on reliable

and specific evidence.” Id.

      There are several problems with using Fidelity’s calculations as the total loss

amount in this offense. To begin with, the PSR asks the Court to assume that all of

the payments made by Fidelity in connection with MHS were made to fund

shortages caused by Hardwick’s scheme. Neither the Government nor Fidelity,




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however, have provided proof that these escrow shortages resulted from

Hardwick’s scheme or that every dollar Fidelity spent was a result of that scheme.

      The Probation Office has recently provided Counsel with a list of money

transfers that Fidelity made to MHS accounts from August 2014 through August

2016, which Fidelity claims to have made to fund escrow shortages caused by

Hardwick and Ms. Maurya. None of these transfers specify whether the shortage

was a result of Hardwick’s scheme, whether it occurred through the course of the

firm’s legitimate business, or whether the deposits were made to cover an escrow

shortage as opposed to an operating expense. There is simply insufficient evidence

tying each of the escrow shortages or wire transfers to Hardwick or Ms. Maurya’s

conduct, let alone “reliable and specific evidence.” See, United States v. James,

592 F.3d 1109, 1115 (10th Cir. 2010), noting that, “a loss estimate is reasonable

only when it is calculated under a reasonable method.”

      The Government has also filed a Sentencing Memorandum in which it

attaches various summary exhibits showing transfers made to or for the benefit of

Hardwick (Doc. 318). In calculating actual loss amounts, it is well-established that

“value may be rendered even amid fraudulent conduct,” and as such, the loss

amount cannot include “any money returned or the fair market value of… services

rendered.” United States v. Campbell, 765 F.3d 1291, 1301 (11th Cir. 2014). In

describing the wire transfers Ms. Maurya made from MHS accounts in the course

of Hardwick’s scheme, the PSR asserts that, “[w]ith rare exceptions, the amount of


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the wire transfers do not appear to bear any relationship to the amounts of

Hardwick’s expected partnership distributions…making it almost impossible to

separate ‘legitimate’ distributions from ‘fraudulent’ ones.” (PSR ¶ 44) (Emphasis

added).

      As the PSR fully acknowledges, much of the money that was sent via wire

transfer was legitimate. Any legitimate funds that were sent (e.g., money

withdrawn to fund the partners’ legitimate distributions and expenses, the firm’s

operating expenses, or shortages caused by errors, double counting, or other

funding issues) should not be calculated toward the loss amount. But there has

been no attempt to deduct these expenses from the PSR’s proposed loss amount

and, as the PSR notes, that may be due to the fact that it is “almost impossible” to

accomplish. Under these circumstances, the loss amount asserted in the PSR is too

speculative to pass muster without more specific and reliable facts.

      Counsel for Hardwick also recently filed a Supplement to Defendant

Hardwick’s Sentencing Memorandum (Doc. 317) which gives detailed reasons as

to why the PSR’s loss amount is not reliable, including: MHS’ accounts were

never properly reconciled; the co-mingled escrow account (“Suntrust 7328”) was

used to make payroll and to fund payments to other partners; Fidelity’s acquisition

of the title company and coverage of the escrow shortages was actually an

“investment” in a profitable title agency; there is a difference in the amount

Fidelity funded versus the amount the Government claims Hardwick received; and


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the Government never accounted at trial for what portion Hardwick was entitled to.

These issues simply underscore the point that the Government cannot show by a

preponderance of the evidence how much of the missing funds were unlawfully

received by Hardwick.

      Even if the Court were to find that the actual loss amount proposed in the

PSR is based on reliable and specific evidence, Ms. Maurya’s scope of criminal

activity was narrower than Hardwick’s, and a lack of foreseeability makes the

actual loss amount an inappropriate measure. Application Note 3(A)(iv) of §2B1.1

defines “reasonably foreseeable pecuniary harm” as “pecuniary harm that the

defendant knew or, under the circumstances, reasonably should have known, was a

potential result of the offense.” The Eleventh Circuit has explained: “A district

court may hold participants in a conspiracy responsible for the losses resulting

from the reasonably foreseeable acts of co-conspirators in furtherance of the

conspiracy.” United States v. Shade, 513 F. App'x 921, 923 (11th Cir. 2013)

(unpublished opinion); Quoting, United States v. Mateos, 623 F.3d 1350, 1370

(11th Cir.2010) (internal quotation marks omitted); see also U.S.S.G. §

1B1.3(a)(1)(B).

      Moreover, “[o]nly after the district court makes individualized findings

concerning the scope of criminal activity the defendant undertook is the court to

determine reasonable foreseeability.” United States v. Hunter, 323 F.3d 1314,

1319 (11th Cir. 2003). The Eleventh Circuit has reasoned that “a relevant factor in


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determining whether an activity is jointly undertaken is whether the defendant

assisted in designing and executing the scheme.” Hunter, 323 F.3d at 1321.

      Ms. Maurya was not Hardwick’s equal. She was his employee. She did not

design Hardwick’s fraudulent scheme nor did she execute the scheme. Rather, she

was a conduit for Hardwick and simply followed Hardwick’s orders to send wire

transfers. And while it was obvious that Hardwick was stealing from MHS, Ms.

Maurya was not always in a position to know if a particular wire transfer (or if a

portion of a wire transfer) was for illegitimate purposes. After all, some of the

wired funds were for a legitimate purpose. In the end, only Hardwick was in a

position to know whether each dollar that was being transferred was for a

legitimate purpose. As the scope of criminal activity was narrower for Ms.

Maurya, and as she could not have reasonably foreseen what Hardwick would do

with each transferred dollar, the actual loss amount is not the appropriate measure.

      Application Note 3(A) of § 2B1.1 instructs courts to use the amount gained

from an offense “if there is a loss but it reasonably cannot be determined.” For the

reasons set forth above, Counsel for Ms. Maurya contends that the $900,000 gain

Ms. Maurya received is the proper measurement for the loss amount (PSR ¶ 44,

90). Accordingly, a 14-level increase to Ms. Maurya’s base offense level instead

of the PSR’s proposed 20-level increase is warranted.




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      B.        Financial Hardship

      The PSR recommends enhancing Ms. Maurya’s offense level by two

pursuant to U.S.S.G. § 2B1.1(b)(2)(A)(iii), which applies when an offense

“resulted in substantial financial hardship to one or more victims.” (PSR ¶ 91).

Application Note 4(F) lists several factors a court should consider when seeking to

apply this enhancement, including whether the victim became insolvent, filed for

bankruptcy, suffered substantial losses in their savings or investment funds, were

forced to make substantial changes in their employment or living arrangements, or

suffered substantial harm to their credit. U.S.S.G. § 2B1.1 cmt. N4(F)(i-vi).

      But in determining whether a victim’s financial losses caused substantial

hardship, courts are directed to measure the financial harm in proportion with a

specific victim’s financial position. United States v. Castaneda-Pozo, 877 F.3d

1249,1252 (11th Cir. 2017) (“the same dollar harm to one victim may result in a

substantial financial hardship, while for another it may be only a minor hiccup”)

(quotes and citations omitted); see also United States v. Poulson, 871 F.3d 261,

268 (3rd Cir. 2017) (“§ 2B1.1’s increased emphasis on individual harm means that

‘substantial financial hardship’ is measured on a sliding scale that is also fairly

subjective”).

      In Castaneda-Pozo, victims only lost $400-$800 as a result of the

defendant’s offense. 877 F.3d at 1252. Nonetheless, the Court found that these

victims experienced a substantial financial hardship because “they were made


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insecure in life’s basic necessities.” Id. at 1252-3. Conversely, it follows that

relatively wealthy victims, such as Mark and Gerard Wittstadt, can lose much more

without suffering a “substantial financial hardship.” Poulson, at 269 (“loss of a

large volume of savings that is quickly regained or has minimal effect on the

victim is likely not a substantial financial hardship”).

      MHS’s bankruptcy alone does not warrant a finding that the Wittstadts

personally suffered a substantial hardship as a result of Ms. Maurya’s offense.

While the Wittstadts certainly suffered financial and reputational harm, we are not

aware of any evidence that they have been struggling financially to the extent

envisioned by the Eleventh Circuit in Castaneda-Pozo. There is no evidence that

they have become insolvent or been forced to postpone their retirements or relocate

their homes, let alone that they “were made insecure in life’s basic necessities.”

Castaneda-Pozo, at 1252-3.

      Moreover, according to the PSR, the brunt of the reputational and financial

harm appears to have been caused by Hardwick who submitted false affidavits in

connection with the lawsuits that were filed following the charged conspiracy. In

these affidavits, the PSR notes that Hardwick stated “that he had no knowledge of

any problems with the escrow accounts prior to August 2014 and that the

Wittstadts consented to allow the firm to guaranty two loans, publicly accusing the

Wittstadts of lying about both the theft and the loans.” (PSR ¶ 73). The PSR

continues: “The allegations destroyed the Wittstadts reputations and caused their


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financial institution clients (Citibank, Bank of America, etc.) to move their legal

work elsewhere. The law firm filed for bankruptcy…” (PSR ¶ 73). Ms. Maurya,

of course, was in no way involved with the false claims that Hardwick made

against the Wittstadts during the pendency of these lawsuits.

      For these reasons, a two-level enhancement for financial hardship is

unwarranted as it relates to Ms. Maurya.

                                   RESTITUTION

      The PSR recommends holding Ms. Maurya liable for $22,207,431 in

restitution to Fidelity (PSR ¶ 83, 86). In its letter to the Court, Fidelity wrote that

“shortly after the discovery of the shortages in the escrow accounts, Fidelity

agreed to fund the entire shortage.” (PSR ¶ 83). The PSR further explains that

Fidelity also decided to acquire the title company after Hardwick’s scheme came to

light (PSR ¶ 71-72).

      Under 18 U.S.C. § 3663A(a)(2), a victim is defined as “a person directly and

proximately harmed as a result of the commission of an offense for which

restitution may be ordered…” At the time that Fidelity began to replenish the

escrow accounts and acquire the title company, it was well aware of Hardwick’s

theft, but it nonetheless agreed to fund the shortages. Because Fidelity was aware

of the theft, Counsel for Ms. Maurya contends that Fidelity was not directly and

proximately harmed as a result of the fraud charged in the indictment, and




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therefore Fidelity is not a victim under the Mandatory Victims Restitution Act

(“MVRA”).2

      Even if Fidelity can be considered a victim, the PSR fails to employ a proper

method in calculating restitution. 18 U.S.C. § 3664(e) provides, in part: “Any

dispute as to the proper amount or type of restitution shall be resolved by the court

by the preponderance of the evidence. The burden of demonstrating the amount of

the loss sustained by a victim as a result of the offense shall be on the attorney for

the Government.” The Eleventh Circuit has explained: “A restitution award under

18 U.S.C. § 3664 must be based on the loss that a victim actually suffers, and the

Government bears the burden of proving that loss. To ensure that a victim is

compensated only for its actual loss, the court must deduct, as an offset, any value

that the victim may have derived from the fraudulent scheme. Otherwise, the

victim will receive a windfall.” United States v. Cavallo, 790 F.3d 1202, 1239

(11th Cir. 2015).

      Essentially, the Government bears the burden of proving that the money

Fidelity spent to refund MHS’s escrow accounts replaced a dollar that had been

fraudulently withdrawn by Hardwick or Ms. Maurya. The restitution award in this

case must therefore be calculated using only the shortages that the Government can


2See, United States v. Farano, 749 F.3d 658 (7th Cir. 2014), a mail and wire fraud
case in which the Seventh Circuit found that refinancing lenders could not be
counted as victims for restitution purposes in the absence of evidence of reliance
on fraudulent representations made by defendants to obtain original loans.

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prove that were caused by the charged conduct, as opposed to the amount of

money Fidelity claims to have spent cleaning up after Hardwick’s scheme. As

explained in the loss amount portion of this memorandum, the PSR has failed to

properly calculate the actual loss amount.

      The final PSR also recommends $6,000,000 in restitution for Mark Wittstadt

(PSR ¶ 86). Counsel for Ms. Maurya again contends that this figure has not been

properly calculated under the MVRA, and therefore the Government cannot meet

its burden in awarding restitution to Mr. Wittstadt.

      Moreover, the MVRA provides that: “If the court finds that more than 1

defendant has contributed to the loss of a victim, the court may make each

defendant liable for payment of the full amount of restitution or may apportion

liability among the defendants to reflect the level of contribution to the victim’s

loss and economic circumstances of each defendant.” 18 U.S.C. § 3664(h).

      As previously argued, Hardwick is far more culpable for the damage that

was inflicted as a result of the illegal conduct set forth in the indictment. He

created the scheme to steal large sums of money from MHS, and he is the one who

primarily benefited from it. Ms. Maurya is also in a poor position to pay back a

large sum of restitution. She is currently receiving partial permanent disability due

to injuries she sustained at work in June 2017 (PSR ¶ 83), and her total monthly

expenses exceed her total monthly income (PSR ¶ 132). For these reasons, should

this Court award restitution, we respectfully request that the restitution be


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apportioned to reflect Ms. Maurya’s significantly lesser culpability and her

inability to pay a large amount of restitution.

      We also note that the Government seized two bank accounts maintained by

Ms. Maurya containing $130,011.03, which Ms. Maurya did not contest. We

would request that the Court take this amount into consideration when ordering

any restitution.

                   SENTENCING FACTORS UNDER § 3553(a)

      As the Court is well aware, 18 U.S.C. § 3553(a) instructs a district court to

impose “a sentence sufficient, but not greater than necessary,” in consideration of

several factors. Among other things, the sentencing court must consider the nature

and circumstances of the offense and the history and characteristics of the

defendant. We contend that these factors in this case merit a downward variance

for the Advisory Guidelines range.

      1. Nature of the Offense

      Ms. Maurya accepts responsibility for participating in Hardwick’s scheme to

defraud MHS, but she did not create or organize the scheme. Hardwick’s scheme

to defraud MHS originated with and was organized by Hardwick. In fact, in the

provisions of the PSR describing Hardwick’s scheme, Ms. Maurya is only

mentioned a handful of times. Of course, Hardwick also held all of the power at

MHS. Not only was Hardwick Ms. Maurya’s employer and supervisor—he was

the managing partner for the entire firm. Perhaps most importantly, Hardwick


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benefitted from the scheme much more than Ms. Maurya as he received the vast

majority of the stolen funds which allowed him to take lavish vacations on private

jets.

        Upon discovery of the missing money, Ms. Maurya admitted to falsifying a

document. (PSR ¶ 54, 56). When confronted by other MHS shareholders upon

discovery of the missing money, Ms. Maurya acknowledged her wrongdoing and

admitted that “Nat would ask for money, and I just sent it to him.” She expressed

that she “felt pressured” by Hardwick, who also instructed her to falsify

distribution reports to conceal his scheme. (PSR ¶ 61). She also worked with

Fidelity to recover the losses and explain Hardwick’s scheme. (PSR ¶ 69).

        In contrast to Ms. Maurya’s actions, Hardwick tried to cover up his fraud by

committing more fraud. As the PSR indicates, Hardwick sought to replenish the

missing funds by obtaining loans from others through false statements and

omissions. (PSR ¶ 63-67). MHS was again left on the hook for Hardwick’s fraud

when the defrauded lenders filed lawsuits against the firm. (PSR ¶ 73).

        Since his fraudulent scheme first came to light, Hardwick has sought to

blame Ms. Maurya for the entire scheme. (PSR ¶ 60). That was also his primary

defense at trial. The jury, however, clearly believed that it was Hardwick who

engineered the scheme.

        Hardwick was also involved in several other schemes that did not involve

Ms. Maurya. Shortly after merging his firm with Morris & Schneider to create


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MHS, Hardwick arranged for MHS to advance him the money to repay a $3

million loan, though “Hardwick never actually reimbursed the firm for the

advances.” (PSR ¶ 33). Between 2009 and 2011, Hardwick defrauded two banks

by making false statements to the banks in order to secure loans. Hardwick was

charged with bank fraud and making false statements in connection with these

schemes. (PSR ¶ 9-15).

      Of course, Ms. Maurya also took actions to defraud MHS for her own

benefit independently from Hardwick. (PSR ¶ 16-21). But the amount she received

was far less than that received by Hardwick. If the Court does adopt the PSR’s

loss amount, we would contend that the loss amount overstates Ms. Maurya’s role

in the offense, and ask that the Court vary downward accordingly. It is also true

that Ms. Maurya has a troubling history of stealing from her employers. (PSR ¶ 34-

36). But as detailed below, Ms. Maurya has made great strides over the past several

years to become a productive member of society.

      2.    History and Characteristics of the Defendant

      Before her indictment in this case, Ms. Maurya was arrested in Gwinnett

County in 2015 and prosecuted for using her employer’s company credit cards for

personal expenses. (PSR ¶ 101).3 The 2015 arrest was a wakeup call that finally




3 Ms. Maurya pled guilty to theft by taking under Georgia’s First Offender Act in
October 2016. Her probation terminated early in December 2018 after she paid her
restitution amount, and she was discharged of the offense.

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forced Ms. Maurya to confront her propensity to steal from employers as well as

unresolved mental health issues.

      Attached to this memorandum is a series of letter from a member of Ms.

Maurya’s family, her partner, her co-workers, and her therapist. The choices Ms.

Maurya made leading up to this offense have their origins in Ms. Maurya’s chaotic

upbringing. As the PSR indicates, Ms. Maurya suffered significant physical and

emotional abuse at the hands of her father, and after he abandoned the family, from

her brother, both of who suffered from untreated bi-polar disorder. (PSR ¶ 110).

      According to Carrie Maurya, Ms. Maurya’s sister-in-law, “[l]ife in the

Maurya house, for the children, was one of uncertainty and constant, never ending

control and aggression…With her old siblings away at college, Asha was left to

absorb the brunt of her father’s increasingly disturbing behavior as he had become

practically unhinged and maniacal.” Carrie Maurya also describes how Ms.

Maurya continued to be victimized by her brother, boyfriends, and others, which

left her life “void of a true support system” and “not equipped to turn away from

this train wreck.” (See, Exhibit 1, Letter from Carrie Maurya).

      Ms. Maurya has seen a counselor for the past ten years to address her own

struggles with mental health, including depression and anxiety. (PSR ¶ 118). In a

letter to this Court, Ms. Maurya’s counselor, Jeff Engberg of The Link Counseling

Center, writes that “the abuse and the myriad of chronically stressful events were

particularly impactful” and that “the abuse manifested in several ways including


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her inability to set boundaries.” Due to that history of abuse, Ms. Maurya has

“sought out narcissistic superiors not for the sake of gaining wealth, but to find her

impossible ‘Golden Ticket,’ acceptance and approval.” (See, Exhibit 2, Letter from

Jeff Engberg). This made Ms. Maurya particularly susceptible to participating in

Hardwick’s scheme, which made her feel accepted and needed. Aside from her

flaws, Ms. Maurya has many positive qualities, including a deep sense of empathy.

Mr. Engberg and Carrie Maurya both describe Ms. Maurya’s empathy in the way

that she cares for her ailing mother who lives out of state.




             Ms. Maurya (middle) with her mother and niece, Aryanna

      Ms. Maurya has also been in a committed relationship for nearly three years.

James Wilson, her partner, writes in his letter that Ms. Maurya is “a passionate and

resilient person who continues to recognize the needs of anyone or anything.

Strangers who meet Asha for the first time often remark of her genuine warmth and

are touched by her inclusiveness.” Mr. Wilson notes that Ms. Maurya “focuses her


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energy on others, thinking of her mother’s well-being and care or of how she will

ever make things right with the victims of the case before Your Honor.” (See,

Exhibit 3, Letter from James Wilson). Davita Shin, a former coworker, describes

Ms. Maurya as “selfless and generous in nature” and he describes how Ms.

Maurya stayed by his side during several painful surgeries in 2016. (See, Exhibit 4,

Letter from David Shin).

      Ms. Maurya is currently employed at Shiftgig. (PSR ¶ 123). When the

company transitioned Ms. Maurya from the office to the field due to her pending

criminal charges, Ms. Maurya’s former supervisor, Mindy Gulledge, writes that

she “fought this decision, as I believed that Asha had accepted the responsibility

for her actions and was prepared for the road ahead of her to fix the damage of the

victims of fraud, and was not a risk to be in her role of Office Admin.” Ms.

Gulledge describes Ms. Maurya as “efficient, reliable, and dependable” and

describes how Ms. Maurya was forthright and candid about her pending criminal

case “and was very humble in recognizing her faults.” Because of that, Ms.

Gulledge maintains that Ms. Maurya “would be an asset to any organization

looking for someone to fill a role who is highly intelligent, dependable, organized,

trustworthy, communicative, and dedicated to her work. (See, Exhibit 5, Letter

from Mindy Gulledge). Attached are three other letters from co-workers who can

attest to Ms. Maurya’s character (See, Exhibits 6, 7, and 8, Letters from Mary

Kathryn Mitchell, Lolah Figueredo, and Timothy McJunkin).


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      The Court should also be aware that Ms. Maurya was injured on the job in

June 2017, sustaining a variety of injuries including a torn rotator cuff in her right

shoulder. Her doctors have indicated that surgery would be helpful (PSR ¶ 117)

(See also, Exhibits 9 and 10, medical records indicating the need for surgery). It is

Counsel’s understanding, however, that Ms. Maurya has a pending worker’s

compensation case, and that the surgery has been delayed by her employer’s

insurance company pending the outcome of sentencing in the instant case.

                          SUBSTANTIAL ASSISTANCE

      Counsel for Ms. Maurya expects that the Government will file a motion

pursuant to U.S.S.G. § 5K1.1, based on Ms. Maurya’s substantial assistance to the

Government in connection with the investigation and prosecution of Hardwick.

While the Government will likely seek a one-level reduction, we believe that a

three-level reduction is more appropriate given the extent of Ms. Maurya’s

cooperation with Fidelity and the Government in this investigation, and the impact

this cooperation has had on her personally.

      Under §5K1.1, the appropriate reduction is determined by the Court, and the

Court may take into account: “(1) the court’s evaluation of the significance and

usefulness of the defendant’s assistance… (2) the truthfulness, completeness, and

reliability of any information or testimony provided… (3) the nature and extent of

the defendant’s assistance…(4) any injury suffered, or any danger or risk of injury

to the defendant… (5) the timeliness of the defendant’s assistance.”


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       Ms. Maurya’s cooperation began immediately following the discovery of the

fraud. Between August 10, 2014 and August 29, 2014, Ms. Maurya worked with

Fidelity’s Internal Investigations Unit on an almost daily basis. On most of these

days, she worked with Fidelity from 8:30 am to 6:00 pm or later. She verified

bank account lists, explained escrow transactions, discussed the mismanagement of

MHS, and verified various loss amounts. She provided clarity for Fidelity in a

time of great confusion. This assistance no doubt later benefited the Government

in its investigation.

       The assistance did not stop there. Between August 21, 2014 and November

7, 2014, Ms. Maurya continued to assist Fidelity on an almost daily basis by

helping Fidelity run MHS and Land Castle (e.g., training new staff, bonus

calculations, balance sheet and income statements, cash flow projections and

requirements, firm cost analysis by division, preparing P&L statements, software

setup, rent analysis, cash flow projections, etc). Again, most of these days lasted

from 8:30 am to 6:00 pm or later. All of this occurred before Ms. Maurya’s first

meeting with the Government.

       While Counsel did not represent Ms. Maurya at the time, it is our

understanding that Ms. Maurya first met with the Government in January 2015.

Between January 2015 and September 2018, Ms. Maurya met with the

Government more than ten times to answer their questions, explain Hardwick’s

scheme, provide context and details to numerous emails and documents, and to


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otherwise help the Government prepare its case against Hardwick. She also spent

countless hours on her own reviewing discovery materials and preparing to testify

at trial. Never once did she complain about having to meet with the Government

to answer their questions.

      Throughout her time cooperating with the Government, Ms. Maurya was

under the belief that she would be testifying at Hardwick’s trial. This caused Ms.

Maurya a great deal of mental anxiety over many months. She was especially

concerned about being cross-examined by one of the best defense attorneys in the

State on a variety of embarrassing issues. Nonetheless, she was more than willing

to assist the Government by testifying. Though ultimately she was not called as a

witness at trial, it is our position that her assistance helped the Government’s case-

in-chief, especially in establishing Hardwick’s knowledge and criminal intent.

      Based on Ms. Maurya’s immediate and extensive cooperation, we

respectfully submit that a three-level reduction is appropriate in this case.

                                  CONCLUSION

      Ms. Maurya committed a serious crime. But in the wake of that crime she

took meaningful steps to mitigate the damages and accept responsibility by

cooperating with Fidelity and the Government. She has also demonstrated that she

has the ability to be a productive member of society despite her checkered past and

unfortunate upbringing. For these reasons, we respectfully request that the Court

impose a sentence below the Advisory Sentencing Guidelines.


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      This 5th day of February, 2019.


                                             PATE & JOHNSON, LLC


                                             /s/ Jess B. Johnson
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                          CERTIFICATE OF SERVICE

      This is to certify that I have this day electronically filed the foregoing Notice

with the Clerk of Court using the CM/ECF system which will automatically send

email notifications of such filing to all counsel of record in this matter.

      This 5th day of February, 2019.


                                               PATE & JOHNSON, LLC


                                               /s/ Jess B. Johnson
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